60 F.3d 826NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.Juan Pablo MARTINEZ, a/k/a Juan Paul Martinez, a/k/a PaulMartinez, Defendant-Appellant.
    No. 95-6461.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 22, 1995.Decided:  July 13, 1995.
    
      Juan Pablo Martinez, Appellant Pro Se.
      Robert Joseph Seidel, Jr., Assistant United States Attorney, Norfolk, VA;  Robert Bullington Wilson, V, COMMONWEALTH'S ATTORNEY'S OFFICE, Hampton, VA, for Appellee.
      Before HALL, MURNAGHAN, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Martinez, Nos.  CR-89-21-NN;  CA-95-2-4 (E.D.Va. Feb. 28, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    